           Case 2:23-cv-02972-FMO-E Document 3 Filed 04/20/23 Page 1 of 1 Page ID #:17
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Pro Se
                                                                                                   EEE
                                                                                         BY: ___________________ DEPUTY


                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
CLINTON BROWN                                                CASE NUMBER

                                                                            LACV23-02972-FMO(Ex)
                                              PLAINTIFF(S)
                              v.
EMIL ASSENTATO, TAX DEED ENTERPRISES LLC,                              APPLICATION FOR PERMISSION
STEVE WEERA TONASUT TRUST,                                               FOR ELECTRONIC FILING
                                            DEFENDANT(S)

 As the          Plaintiff    Defendant   in the above-captioned matter, I respectfully ask the Court for
 permission to participate in electronic filing ("e-filing") in this case. I hereby affirm that:
 1. I have reviewed Local Rule 5-4.1.1 and the instructions available on the Court's website at
    www.cacd.uscourts.gov/e-filing/electronic-filing-and-case-access-people-without-lawyers.

 2. I understand that once I register for e-filing, I will receive notices and documents in Central District cases
    only by e-mail and not by U.S. mail.
 3. I understand that if my use of the Court's e-filing system is unsatisfactory, my e-filing privileges may be
    revoked and I will be required to file documents in paper, but will continue to receive documents via e-mail.
 4. I understand that I may not e-file on behalf of any other person in this or any other case.

 5. I have regular access to the technical requirements necessary to e-file successfully:
     Check all that apply.
       ✔   A Computer with internet access.

       ✔   An email account on a daily basis to receive notifications from the Court and notices from the
           e-filing system.

       ✔   A scanner to convert documents that are only in paper format into electronic files.

       ✔   A printer or copier to create required paper copies such as chambers copies.

       ✔   A word-processing program to create documents; and

       ✔   A PDF reader and a PDF writer to convert word processing documents into PDF format, the only
           electronic format in which documents can be e-filed.

Date: 04/20/2023                                      Signature:

CV-005 (02/20)                     APPLICATION FOR PERMISSION FOR ELECTRONIC FILING
